Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 1 of 13 PageID #:
                                    90592


                        IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION
  ___________________________________________

  IN RE COOK MEDICAL, INC., IVC FILTERS
  MARKETING, SALES PRACTICES AND                 Case No. 1:14-ml-2570-RLY-TAB
  PRODUCTS LIABILITY LITIGATION                  MDL No. 2570
  ___________________________________________


            EXHIBIT C TO MOTION TO DISMISS DUPLICATIVE FILINGS
        Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 2 of 13 PageID #:
                                            90593

Symons, Rochelle R.

From:                 Angelino, Blake A.
Sent:                 Friday, October 25, 2019 11:02 AM
To:                   amanda@mcglynnglisson.com; Greg McEwen
Cc:                   Symons, Rochelle R.
Subject:              Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Benhart, David


Amanda and Gregory,

McGlynn Glisson & Mouton filed a complaint on behalf of Benhart, David. The case number is 1:17-cv-01226. McEwen
Law Firm, Ltd has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-cv-
02692. Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to
dismiss the later-filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please let
me know if you have any questions or concerns, ideally we can simply stipulate to dismiss one of the cases.

Best,

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Admitted to Practice in Illinois; Ohio




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        Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 3 of 13 PageID #:
                                            90594

Symons, Rochelle R.

From:                 Angelino, Blake A.
Sent:                 Friday, October 25, 2019 11:20 AM
To:                   john@drlawllp.com; Tom Arbon
Cc:                   Symons, Rochelle R.; Ben Martin
Subject:              Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Harrison, Darlene Miller


John and Tom,

Dalimonte Rueb Law Group filed a complaint on behalf of Harrison, Darlene Miller. The case number is 1:19-cv-
03297. Martin|Baughman PLLC has filed a second, identical complaint on behalf of the same plaintiff. The case's case
number is 1:19-cv-03645. Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we
will be moving to dismiss the later-filed case next Tuesday, October 29, after close of business if one of the cases is not
dismissed. Please let me know if you have any questions or concerns, ideally we can simply stipulate to dismiss one of the
cases.

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        Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 4 of 13 PageID #:
                                            90595

Symons, Rochelle R.

From:                    Angelino, Blake A.
Sent:                    Friday, October 25, 2019 11:17 AM
To:                      josborne@realtoughlawyers.com; rschulte@yourlegalhelp.com; jseldomridge@millerfirmllc.com
Cc:                      Symons, Rochelle R.
Subject:                 Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Jenkins, Susan


Joseph and Jeff,

Osborne and Francis and Wright & Schulte LLC filed a complaint on behalf of Jenkins, Susan. The case number is 1:16-cv-
01068. THE MILLER FIRM LLC has filed a second, identical complaint on behalf of the same plaintiff. The case's case
number is 1:19-cv-02614. Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we
will be moving to dismiss the later-filed case next Tuesday, October 29, after close of business if one of the cases is not
dismissed. Please let me know if you have any questions or concerns, ideally we can simply stipulate to dismiss one of the
cases.

Best,

Blake A. Angelino
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Faegre Baker Daniels LLP
311 S. Wacker Drive | Suite 4300 | Chicago, IL 60606, USA




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        Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 5 of 13 PageID #:
                                            90596

Symons, Rochelle R.

From:                 Angelino, Blake A.
Sent:                 Friday, October 25, 2019 1:41 PM
To:                   ak@kirkendalldwyer.com; akirkendall@kirkendalldwyer.com
Cc:                   Symons, Rochelle R.; Tom P. Cartmell; David C. DeGreeff
Subject:              FW: Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Katrausky, Patricia


Sorry Andrew, David, and Tom, I mistyped this email below. Same issues though.

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From: Angelino, Blake A.
Sent: Friday, October 25, 2019 10:17 AM
To: 'rk@kirkendalldwyer.com' <rk@kirkendalldwyer.com>; Tom P. Cartmell <tcartmell@wcllp.com>
Cc: Symons, Rochelle R. <rochelle.symons@FaegreBD.com>
Subject: Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Katrausky, Patricia

Andrew and David,

Kirkendall Dwyer LLP filed a complaint on behalf of Katrausky, Patricia. The case number is 1:17-cv-03968. Wagstaff &
Cartmell, LLP has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-cv-
03755. Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to
dismiss the later-filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please let
me know if you have any questions or concerns, ideally we can simply stipulate to dismiss one of the cases.

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        Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 6 of 13 PageID #:
                                            90597

Symons, Rochelle R.

From:                 Angelino, Blake A.
Sent:                 Friday, October 25, 2019 1:46 PM
To:                   jzonies@zonieslaw.com; Tom Arbon
Cc:                   bmartin@bencmartin.com; Symons, Rochelle R.
Subject:              Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Keller, Douglas M. Jr.


Gregory and Tom,

Zonies Law LLC filed a complaint on behalf of Keller, Douglas M. Jr.. The case number is 1:19-cv-01900. Law Offices of Ben
Martin has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-v-02623.
Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to dismiss
the later-filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please let me
know if you have any questions or concerns, ideally we can simply stipulate to dismiss one of the cases.

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        Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 7 of 13 PageID #:
                                            90598

Symons, Rochelle R.

From:                      Angelino, Blake A.
Sent:                      Friday, October 25, 2019 2:36 PM
To:                        Basil Adham
Cc:                        Symons, Rochelle R.
Subject:                   FW: Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Meddock, Teresa


Basil, FYI, I meant to add you to the email below.

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From: Angelino, Blake A.
Sent: Friday, October 25, 2019 12:58 PM
To: 'IVC@johnsonlawgroup.com' <IVC@johnsonlawgroup.com>; Laci Whitley <lwhitley@flintlaw.com>
Cc: Symons, Rochelle R. <rochelle.symons@FaegreBD.com>
Subject: Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Meddock, Teresa

Basil and Laci,

Johnson Law Group filed a complaint on behalf of Meddock, Teresa. The case number is 1:18-cv-02519. FLINT LAW FIRM
has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-cv-02893. Please
dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to dismiss the later-
filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please let me know if you
have any questions or concerns, ideally we can simply stipulate to dismiss one of the cases.

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        Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 8 of 13 PageID #:
                                            90599

Symons, Rochelle R.

From:                      Angelino, Blake A.
Sent:                      Friday, October 25, 2019 2:01 PM
To:                        matthewsivc@thematthewslawfirm.com; bdehkes@charleshjohnsonlaw.com
Cc:                        dmatthews@thematthewslawfirm.com; Symons, Rochelle R.
Subject:                   Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Muff, Leonard


David and Charles,

Matthews & Associates filed a complaint on behalf of Muff, Leonard. The case number is 1:19-cv-01881. LAW OFFICES OF
CHARLES JOHNSON has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-
cv-02728. Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to
dismiss the later-filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please let
me know if you have any questions or concerns, ideally we can simply stipulate to dismiss one of the cases.

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        Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 9 of 13 PageID #:
                                            90600

Symons, Rochelle R.

From:                 Angelino, Blake A.
Sent:                 Friday, October 25, 2019 2:09 PM
To:                   rlopez@lopezmchugh.com; sseid@seidlaw.com
Cc:                   Symons, Rochelle R.; mlopez@lopezmchugh.com
Subject:              Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Myers, Gregory Gene


Matthew and Scott,

Lopez McHugh filed a complaint on behalf of Myers, Gregory Gene. The case number is 1:17-cv-04754. The Seideman
Law Firm has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-cv-03228.
Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to dismiss
the later-filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please let me
know if you have any questions or concerns, ideally we can simply stipulate to dismiss one of the cases.

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     Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 10 of 13 PageID #:
                                          90601

Symons, Rochelle R.

From:                      Angelino, Blake A.
Sent:                      Friday, October 25, 2019 2:32 PM
To:                        Dhumphrey@bernllp.com; afurness@fnlawfirm.com
Cc:                        Symons, Rochelle R.
Subject:                   Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Royce, Mathew


Debra and Matthew,

MARC J. BERN & PARTNERS, LLP filed a complaint on behalf of Royce, Mathew. The case number is 1:18-cv-00068. FEARS
NACHAWATI, PLLC has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-
cv-03918. Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to
dismiss the later-filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please
let me know if you have any questions or concerns, ideally we can simply stipulate to dismiss one of the cases.

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    Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 11 of 13 PageID #:
                                         90602

Symons, Rochelle R.

From:                 Angelino, Blake A.
Sent:                 Friday, October 25, 2019 2:35 PM
To:                   IVC@johnsonlawgroup.com; john@drlawllp.com
Cc:                   Symons, Rochelle R.; Basil Adham
Subject:              Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Ryan, John


Basil and John,

Johnson Law Group filed a complaint on behalf of Ryan, John. The case number is 1:18-cv-02982. Dalimonte Rueb Law
Group has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-cv-02825.
Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to dismiss
the later-filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please let me
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     Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 12 of 13 PageID #:
                                          90603

Symons, Rochelle R.

From:                      Angelino, Blake A.
Sent:                      Friday, October 25, 2019 2:45 PM
To:                        IVC@johnsonlawgroup.com; brich@lawdbd.com; brich@advocates.com
Cc:                        Symons, Rochelle R.; Basil Adham
Subject:                   Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Seibert, Christine


Basil and Brandon,

Johnson Law Group filed a complaint on behalf of Seibert, Christine. The case number is 1:18-cv-02486. Driggs, Bills &
Day, PLLC has filed a second, identical complaint on behalf of the same plaintiff. The case's case number is 1:19-cv-03792.
Please dismiss the duplicate complaint. I wanted to make you aware of the issue, and that we will be moving to dismiss
the later-filed case next Tuesday, October 29, after close of business if one of the cases is not dismissed. Please let me
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    Case 1:14-ml-02570-RLY-TAB Document 12291-3 Filed 10/29/19 Page 13 of 13 PageID #:
                                         90604

Symons, Rochelle R.

From:                 Angelino, Blake A.
Sent:                 Friday, October 25, 2019 2:50 PM
To:                   sgeisler@awkolaw.com; bdehkes@charleshjohnsonlaw.com
Cc:                   Symons, Rochelle R.
Subject:              Cook Filter MDL - Request to Dismiss Duplicate Complaint on Behalf of Sims, Palmer Sr.


Samuel and Charles,

AYLSTOCK WITKIN KREIS & OVERHOLTZ filed a complaint on behalf of Sims, Palmer Sr. The case number is 1:18-cv-
06091. LAW OFFICES OF CHARLES H. JOHNSON, PA has filed a second, identical complaint on behalf of the same
plaintiff. The case's case number is 1:19-cv-02541. Please dismiss the duplicate complaint. I wanted to make you aware
of the issue, and that we will be moving to dismiss the later-filed case next Tuesday, October 29, after close of business if
one of the cases is not dismissed. Please let me know if you have any questions or concerns, ideally we can simply
stipulate to dismiss one of the cases.

Best,

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